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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:17CR314

        vs.
                                                                        ORDER
ENRIQUE SERNA,

                       Defendant.

        This matter is before the court on defendant's motion to continue the pretrial motion
deadline [44]. For good cause shown, I find that the motion should be granted. The defendant
will be given an approximate 16-day extension. Pretrial motions shall be filed by December 1,
2017.
        IT IS ORDERED:
        1.     Defendant's motion to continue the pretrial motion deadline [44] is granted.
Pretrial motions shall be filed on or before December 1, 2017.
        2.     Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P.
and NE. Crim. R. 12.3(a) forthwith.
        3.     The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between November 15, 2017 and December 1, 2017
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
        Dated this 16th day of November, 2017.

                                                     BY THE COURT:


                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge
